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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    DEC 13 2023
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 JOSE DECASTRO,                                No. 23-16089

               Plaintiff - Appellant,
                                               D.C. No. 2:23-cv-00580-APG-EJY
   v.                                          U.S. District Court for Nevada, Las
                                               Vegas
 LAS VEGAS METROPOLITAN
 POLICE DEPARTMENT; et al.,                    MANDATE

               Defendants - Appellees.


        The judgment of this Court, entered November 21, 2023, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
